Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6134 Filed 07/28/21 Page 1 of 22




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, et al,


               Plaintiffs,
    v.                                            No. 2:20-cv-13134

  GRETCHEN WHITMER, in her official
  capacity as Governor of the State of            Hon. Linda V. Parker
  Michigan, et al,

               Defendants,

   and

  CITY OF DETROIT, et al,

               Intervenor-Defendants.


   INTERVENOR-DEFENDANT CITY OF DETROIT’S SUPPLEMENTAL
              BRIEF IN SUPPORT OF SANCTIONS

                                INTRODUCTION

         In a shocking abuse of this Court’s processes, nine lawyers used their

 privileges as members of the bar to spread dangerous lies that undermined the

 credibility of the 2020 presidential election and threatened to prevent our nation’s

 peaceful transition of power. It is now time to hold every one of them accountable.




                                          1
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6135 Filed 07/28/21 Page 2 of 22




        There is no excuse for the reckless disregard for the truth that permeated this

 lawsuit, and there should be no safe harbor for attorneys who pretended to file

 legitimate claims, while misrepresenting the facts and the law. This is not a case of

 subtle misunderstandings. Reasonable minds cannot differ about whether Michigan

 has party registration, whether Michigan voters can vote absentee without using the

 mail, whether the Antrim County tabulation error was discovered by a hand recount,

 whether there was a 139% turnout in Detroit, whether “Spyder” is a military

 intelligence expert, or whether it was evidence of fraud that Joe Biden received a

 greater share of the absentee ballot vote than Donald Trump. No diligent attorney

 could reasonably believe that the internet mantra that “fraud vitiates everything”

 means that Michigan’s election laws and legal precedent can be ignored. In the end,

 Plaintiffs’ lawyers defend their presentation of false claims and their reliance on non-

 existent legal precedent with the argument that all of this “appears consistent with

 the narrative.” (Ex. 1 - July 12, 2021 Hearing Tr.; Statement of Mr. Kleinhendler;

 Tr. 149). In other words, it’s ok to say anything in court, if it fits their storyline.

        These nine attorneys know that it is impossible to defend their actions, so they

 search for excuses to avoid accountability. Sidney Powell signed seven pleadings,

 motions and briefs filed in this case, and then she prepared responses to the City’s

 sanctions motion claiming that she had never signed anything. Lin Wood argues that

 he cannot be sanctioned because he never entered an appearance, while the Michigan

                                             2
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6136 Filed 07/28/21 Page 3 of 22




 attorneys who did file appearances say that Powell and Wood “spearheaded” the

 litigation, with local counsel exercising no independent judgment. All nine of these

 lawyers have one thing in common—they knew that their names were on the

 signature blocks and not one of them asked to be removed. They allowed their names

 and reputations as attorneys to be used to endorse this mendacious litigation, and

 now they should answer for the harm they caused.

                                    ARGUMENT

 I.    The Rule 11 Safe Harbor Notice Was Properly Served
       For the first time, at the July 12, 2021 hearing, Lin Wood and Emily Newman

 claimed that they did not receive the Rule 11 Motion and Safe Harbor Letter (“the

 Safe Harbor Letter”). (Tr. at 203; 206). That claim was not made in the briefs filed

 by Plaintiffs’ counsel. See Plaintiffs’ Opposition to the City of Detroit’s Motion for

 Sanctions, for Disciplinary Action, for Disbarment Referral and for Referral to State

 Bar Disciplinary Bodies, ECF No. 95 and Plaintiffs’ Supplemental Opposition, ECF

 No. 111. To the contrary, Plaintiffs’ counsel admitted that “[t]he City served a copy

 of notice of an anticipated [Rule 11] Motion on Plaintiffs’ counsel on December 15,

 2020.” Plaintiffs’ Opposition, ECF No. 95, PageID.4118-4119.

       In fact, the City served the Safe Harbor Letter on December 15, 2020, by first

 class mail. (Ex. 2 - Affidavit of Kimberly Hunt). It was mailed to the “last known

 address” for each of the attorneys named in the Rule 11 Motion, and, thus, service


                                           3
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6137 Filed 07/28/21 Page 4 of 22




 was proper under Fed. R. Civ. P. 5(b)(1)(C). Id. The City obtained Plaintiffs’

 counsel’s last known addresses (except Ms. Junttila’s) from the signature block on

 the Amended Complaint (ECF No. 6, PageID.957) and found Ms. Junttila’s last

 known address on her Appearance of Counsel (ECF No. 63, PageID.3331). None of

 the letters were returned. (Ex. 2). Only Lin Wood and Emily Newman claim they

 did not receive the Rule 11 letter. 1 (Tr. at 203; 206).

       The Safe Harbor Letter was sent to Lin Wood and Emily Newman at the

 addresses listed on the signature block of the Amended Complaint (ECF No. 6,

 PageID.958):




 These same addresses appeared on the signature block of the Complaint (ECF No.

 1, PageID.75) and on the signature blocks of Plaintiffs’ Petition for Writ of Certiorari

       1
          While Emily Newman now claims that she did not receive the Safe Harbor
 Letter, three other attorneys—Sidney Powell, Julia Haller and Brandon Johnson—
 were served by mail at the same address (the address identified for all of them on the
 pleadings), and none of them denied being served.
                                          4
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6138 Filed 07/28/21 Page 5 of 22




 and Notice of Supplemental Authority filed in the Supreme Court of the United

 States. In addition to service by first class mail, as a courtesy to Plaintiffs’ counsel,

 the City’s counsel sent copies of the Safe Harbor Letter to email addresses they were

 able to find for seven of these attorneys. The City’s counsel searched online for email

 addresses that were not included on Plaintiffs’ counsel’s filings and were not

 available on the docket because most of Plaintiffs’ counsel had not provided their

 email addresses to the Court and counsel (as would have been required had they filed

 proper appearances in this Court). (Ex. 3 - Email to Plaintiffs’ Counsel With Copy

 of Safe Harbor Letter).

       Finally, Plaintiffs’ counsel had actual notice of the Safe Harbor Letter. On

 December 15, 2020, after the City’s counsel sent copies of the Safe Harbor Letter

 via email to Plaintiffs’ attorneys, counsel for Intervenor-Defendants DNC and MDP,

 Marc Elias, tweeted a copy of the entire Safe Harbor Letter, with the attached Rule

 11 Motion. (Ex. 4 - Law and Crime Article of Dec. 15, 2020). Shortly thereafter (and

 still on December 15, 2020), Lin Wood took credit for the lawsuit, tweeting a link

 to an article containing a copy of the City’s Safe Harbor Letter, stating “[w]hen you

 get falsely accused by the likes of David Fink & Marc Elias of Perkins Coie (The

 Hillary Clinton Firm) in a propaganda rag like Law & Crime, you smile because you

 know you are over the target and the enemy is runningscared (sic)!” (Ex. 5 - Wood

 Tweet of Dec. 15, 2020). Then, on January 5, 2021, the day the City filed its Rule

                                            5
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6139 Filed 07/28/21 Page 6 of 22




 11 Motion with the Court, Lin Wood tweeted a link to an article with the City’s Rule

 11 Motion, stating that it was “unfair” for the City to seek sanctions against him.

 (Ex. 6 – Wood Tweet of Jan. 5, 2021). The evidence is irrefutable that Lin Wood,

 Emily Newman and all of Plaintiffs’ counsel were properly served with the Safe

 Harbor Letter, and they all had actual notice.

       Despite his public statements about the City’s Safe Harbor Letter, on

 December 15, 2020, and his public statements about the City’s Rule 11 Motion, on

 January 5, 2021, Mr. Wood sought to escape responsibility at the July 12, 2021

 hearing with the following incredible statement:

       I didn’t receive any notice about this until I saw something in the
       newspaper about being sanctioned…Let me say, because if I had been,
       I would have obviously had a duty to consider whether or not to
       withdraw, but I can’t withdraw from something I’ve never asked to be
       a part of. (Tr. at 64).

 Mr. Wood cannot have it both ways. He was aggrieved by what he called false

 allegations on December 15, 2020, but claims ignorance of those same allegations

 on July 12, 2021.

 II.   Plaintiffs’ Attorneys Refuse to Objectively Review the Ramsland
       Affidavit
       As the Court noted at the July 12, 2021 hearing, the affidavit of Russell James

 Ramsland, Jr., dated November 24, 2020, incorrectly states that a discrepancy in the

 Antrim County results was “only discoverable through a hand counted manual

 recount.” (ECF No. 6-24, PageID.1573, at ¶ 10). When the Court asked why

                                           6
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6140 Filed 07/28/21 Page 7 of 22




 Plaintiffs’ counsel had not corrected Ramsland’s claim that the Antrim County error

 was discoverable only through a hand recount, when no hand recounts had been

 conducted in Michigan as of the date his affidavit was signed, Plaintiffs’ counsel

 doubled down on this misrepresentation.

       First, Ms. Haller made the following claim:

       Your Honor, if I may correct the record for that. It was the Michigan
       Secretary – the county secretary who did that hand recount, and that’s
       reported on at that time. So there was what they called a hand recount.
       (Tr. at 96; emphasis added).

 Then, Mr. Kleinhendler added: “My understanding was that somebody recounted it

 by hand.” (Tr. at 97; emphasis added). There was no factual basis for either of those

 claims.

       To buttress their arguments, Mr. Kleinhendler referred the Court to a

 December 3, 2020 report by Mr. Ramsland, with an appended report prepared by

 ASOG, an organization affiliated with Mr. Ramsland. Mr. Kleinhendler claimed

 “[Ramsland] has a photograph, a photograph of the hand recount that was done in

 Antrim County.” (Tr. at 105; emphasis added; ECF No. 49-3, PageID.3119). Mr.

 Campbell piled on:

       Your Honor, if I can, can we have Mr. Fink explain why there’s a photograph
       of something that shows a hand recount when he’s telling everybody there’s
       been no hand recount? (Tr. at 105; emphasis added).




                                           7
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6141 Filed 07/28/21 Page 8 of 22




 Of course, there is no such photographic evidence. The photograph appended to the

 referenced affidavit simply depicts the results of a machine re-tabulation of ballots

 that occurred on November 6, 2020. The photograph shows printouts from tabulation

 machines and makes no reference to a hand recount. The ASOG report clearly states

 that the photograph depicts “‘two separate totals tape’ from Tabulator ID 2.” (ECF

 No. 49-3, PageID.3118). The narrative accompanying the photographs explains that,

 at the request of the County Clerk, the Township Clerk, under the oversight of the

 canvassing board, “re-ran the original election day ballots” with a machine tabulator.

 (ECF No. 49-3, PageID.3122). There is nothing in the ASOG report that even

 remotely suggests that a hand recount was performed on November 6, 2020.

        The photograph touted by Plaintiffs’ counsel does include the word “recount,”

 and these attorneys apparently chose to end their inquiry there. The slightest critical

 analysis, however, would have immediately revealed that this “evidence” provided

 no support for their position. Furthermore, the very photo upon which they rely

 shows a difference of only one vote (not 6,000)—the machine “recount” found one

 less vote for Donald Trump.

        Yet, on July 12, 2021, all nine of these attorneys and the attorneys representing

 them were prepared to foist yet another misrepresentation on this Court without the

 slightest bit of objective inquiry. This false representation to this Court is particularly

 troubling when it comes fully six months after the issue of the factual basis for

                                             8
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6142 Filed 07/28/21 Page 9 of 22




 Ramsland’s affidavit was highlighted in the City’s Motion for Sanctions and more

 than seven months after Ramsland’s significant factual error was raised in the City’s

 Response to Plaintiffs’ Emergency Motion.

 III.   These Attorneys Ignored Michigan Election Law and Procedures and
        Support Their Claims With Internet Memes Rather Than Rigorous Legal
        Analysis
        When the Court asked why Plaintiffs’ attorneys did not avail themselves of

 the procedures for challenging elections under Michigan law, the responses were a

 strangely disconnected set of references to ripeness, the Twelfth Amendment and

 the Court’s “inherent equitable authority.” When the Court asked for case authority,

 Mr. Kleinhendler offered the following revealing insight into counsel’s legal

 analysis:

        I did look it up, your Honor, just briefly while we were here…I would
        refer you to the United States Supreme Court case, United States versus
        Throckmorton...I believe that case states the general equitable
        jurisdiction that this Court has, fraud vitiates everything, and this Court
        has the equitable power. (Tr. at 30-33).
 The Court expressed understandable surprise that Plaintiffs would cite a case

 decided 143 years ago. A review of the record suggests that there is a disturbing

 reason for this citation. The Court, in Throckmorton, does refer to a treatise that

 states “fraud vitiates everything.” United States v. Throckmorton, 98 U.S. 61, 66

 (1878). But, the Throckmorton Court’s holding that a prior judgment confirming a

 land grant could not be collaterally attacked on the basis that the judgment was

 procured through fraud is directly contrary to Plaintiffs’ claim that “fraud vitiates
                                            9
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6143 Filed 07/28/21 Page 10 of 22




  everything.” Id., at 68-69. Nothing about this case has any meaningful application

  to the issues before this Court.

        On first impression, Plaintiffs’ citation to an obscure 143-year-old Supreme

  Court case that does not support their position is puzzling; Throckmorton was last

  cited by the Supreme Court 75 years ago. See Knauer v. United States, 328 U.S.

  654, 66 S.Ct. 1304 (1946). But the source of this “lawyering” becomes apparent with

  a quick internet search. Throckmorton and the phrase “fraud vitiates everything”

  have become a meme on extremist social media accounts, where it is repeatedly

  parroted as a basis for overturning the 2020 election. (Ex. 7 - Throckmorton Tweets).

  That Throckmorton has made the leap from uninformed social media commentary

  to citation by Plaintiffs’ counsel as the legal basis for this far-reaching and

  unfounded lawsuit demonstrates that this suit has been driven by partisan political

  posturing, entirely disconnected from the law. This lawsuit is the dangerous product

  of an online feedback loop, with these attorneys citing “legal precedent” derived not

  from a serious analysis of case law, but from the rantings of conspiracy theorists

  sharing amateur analysis and legal fantasy in their social media echo chamber.

  IV.   The Shifting Sands of Plaintiffs’ Attorneys’ Positions

               a. With Constantly Changing Rationales, Plaintiffs’ Counsel
                  Repeatedly Refused to Dismiss Their Baseless Claims
        On January 19, 2021, Plaintiffs’ attorneys made the following claim:



                                           10
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6144 Filed 07/28/21 Page 11 of 22




        Since its initial filings, Plaintiffs have taken every reasonable measure
        to expedite this proceeding and to terminate the proceeding once their
        claims were no longer viable. (ECF No. 95, PageID.4114).
  Nothing could be further from the truth.        At every stage, Plaintiffs’ counsel

  unreasonably prolonged this litigation.

        Plaintiffs admitted that “the case at bar was … effectively over on December

  7, 2020….” (ECF No. 112, PageID.4610). But they did not dismiss on December 7.

        In Plaintiffs Petition for a Writ of Certiorari to the Supreme Court they

  admitted that “[o]nce the electoral votes are cast, subsequent relief would be

  pointless,” and “the petition would be moot.” (Ex. 8 – Plaintiffs’ Petition for Writ of

  Certiorari, p. 7). But after Michigan’s presidential electors convened and cast their

  votes on December 14, 2020, Plaintiffs still did not dismiss, and they refused to

  concur in Defendants’ Motions to Dismiss.2

        On December 15, 2020, one day after the electors voted, Plaintiffs’ counsel

  were served with the Rule 11 Safe Harbor Letter, but not one of the nine attorneys

  took a single step to withdraw their claims.




        2
          At the July 12, 2021 hearing, Mr. Campbell argued that the about-face on
  whether the case became moot arose because “three of our Plaintiffs were, in their
  opinion, elected as electors…once they were elected as electors in Lansing, they
  believe, according to the Constitution, to be the electors. That changed things, and
  now the Supreme Court’s determination did have life.” (Tr. at 44; emphasis added).
  The suggestion that three clients’ subjective beliefs, without a shred of factual or
  legal support, exonerates misconduct by an attorney is farcical.
                                           11
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6145 Filed 07/28/21 Page 12 of 22




        On the night of January 6, 2021, after a day of insurrection at the Capitol,

  Congress certified Joe Biden as the winner of the 2020 presidential election.

  Plaintiffs later admitted that “[o]n January 6, 2021 the US Congress ‘certified the

  election,’ rendering Plaintiffs’ claims moot.” (ECF No. 95, PageID.4114). And yet,

  Plaintiffs still did not dismiss. On January 11, 2021, the Supreme Court denied

  Plaintiffs’ motion to expedite their Cert Petition. Because Plaintiffs would not

  dismiss, the Defendants were compelled to file responses in the Supreme Court.

  Then, at the very last minute, when Plaintiffs had no choice but to respond to

  Defendants’ Motions to Dismiss, Plaintiffs purported to “voluntarily dismiss.”

  Plaintiffs never responded to the Motions to Dismiss, but they did the damage they

  set out to do.

        Plaintiffs filed purported notices of voluntary dismissal on January 14, 2021.

  But, even then, they did not dismiss their appeals in the Sixth Circuit or the Supreme

  Court. On January 18, 2021, counsel for the City, Darryl Bressack, sent an email to

  Ms. Lambert Junttila asking about withdrawal of the appeals. She responded by

  requesting the City’s consent to withdraw, which was promptly given. On January

  21, 2021, counsel for the City sent an email to Ms. Lambert Junttila asking if she

  had filed the withdrawal. She replied “[i]t’s my understanding that Sidney Powell’s

  team is preparing it and I will submit it as soon as I receive it.” (Ex. 9 – Email




                                           12
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6146 Filed 07/28/21 Page 13 of 22




  Exchange). But, no withdrawal was filed. Instead, two weeks later Sidney Powell

  posted the following to her Telegram account on February 4, 2021:




  On February 22, 2021 the Supreme Court denied Plaintiffs’ Cert Petition. (Ex. 10 –

  Order Denying Petition for Writ of Certiorari). Until that day, Plaintiffs continued

  to press this baseless litigation, forcing Defendants to defend against these bogus

  claims, all in the service of the lie that the 2020 election was stolen.

               b. Each Attorney Has a Different Excuse to Avoid Accountability,
                  But All Nine Attorneys Should be Sanctioned
        The Michigan lawyers say they signed the filings, but did not prepare them,

  so they should not be responsible, while the out of state attorneys say they prepared

  the filings, but they did not sign them, so they should not be responsible. And, the

  out of state attorneys say that even if they did prepare and sign the filings, they are

  immune from this Court’s review, because they never followed this Court’s rules to

  be admitted. The cynical attempt to sidestep the authority of this Court by failing to

  be sworn into our District simply does not work. E.D. Mich. LR 83.20(j) states that

  “[a]n attorney…who practices in this court as permitted by this rule is subject to the

  Rules of Professional Conduct adopted by the Michigan Supreme Court….” And

  those rules do not reward the gamesmanship displayed here. Michigan Rule of
                                             13
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6147 Filed 07/28/21 Page 14 of 22




  Professional Conduct 8.5(a) states that “[a] lawyer not admitted in this jurisdiction

  is also subject to the disciplinary authority of this jurisdiction if the lawyer provides

  or offers to provide any legal services in this jurisdiction.” That rule applies to every

  one of the lawyers in this case.

                       1. Sidney Powell

          On July 12, 2021, after six hours of argument, Sidney Powell, for the first time

  said:

          I take full responsibility myself for the pleadings in this case. Ms.
          Newman, Mr. Wood, Mr. Johnson, and local counsel had no role
          whatsoever in the drafting and content of these complaints. It was my
          responsibility and Mr. Kleinhendler’s, not theirs. (Tr. at 231).
  This is the same Sidney Powell who prepared (but did not sign) the brief arguing

  that she could not be sanctioned because she did not sign the pleadings.3 (ECF No.

  95, PageID.4118, 4122-4124).




          3
          Directly contrary to Ms. Powell’s claim, Stefanie Lambert Junttila, one of
  the local attorneys who Powell seeks to shelter with her eleventh hour magnanimous
  claim of responsibility, appeared on “The Gateway Pundit” the day after the
  sanctions hearing, where she admitted that she was not simply hired as local counsel,
  she “reached out to the Sidney Powell team and the Rudy Giuliani team to provide
  evidence” of supposed election fraud. Available at https://rumble.com/vjsv8v-live-
  at-5-pm-cdt-bombshell-report-michigan-election-2020-case-with-atty.-st.html, last
  accessed July 20, 2021. She then appeared on “One America News Network” on
  July 14, 2021 and promised that “new suits will be filed in Michigan and other states
  as well.” Available at https://rumble.com/vjvnhx-real-america-dan-w-stefanie-
  lambert-july-14-2021.html, last accessed July 20, 2021.
                                           14
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6148 Filed 07/28/21 Page 15 of 22




        These misrepresentations about the signing of the pleadings were not made

  out of ignorance or mistake, they were made by Sidney Powell herself. Attached as

  an exhibit to Plaintiffs’ Supplemental Brief in Opposition is the affidavit of

  Plaintiffs’ local counsel Gregory Rohl. (ECF No. 111-1, PageID.4597-4599). Rohl

  swears that he was asked to assist in “litigation involving alleged election fraud in

  Michigan which was being spearheaded by Sidney Powell and Lin Wood.” (ECF

  No. 111-1, PageID.4597, at ¶ 2). Rohl states that he was to “serve as a conduit for

  pleadings and essentially ‘hold the fort’ until Sidney Powell’s Pro Hac Vice

  application was accepted by the Court.” (ECF No. 111-1, PageID.4598, at ¶ 7). After

  the filing of the City’s Motion for Sanctions, Rohl states that “Ms. Lambert Junttila

  surprisingly advised Rohl that she was not the one preparing the response to the Rule

  11 Sanction Motion, and that it was being provided for review by Sidney Powell’s

  team.” (ECF No. 111-1, PageID.4599, at ¶ 13).

        Despite Sidney Powell’s repeated footnotes that her application for pro hac

  vice admission was forthcoming, neither she nor any of the out-of-state Plaintiffs’

  attorneys ever sought admission to this Court. While this Court has not recognized

  pro hac vice admissions for forty years, the process to be admitted to the Eastern

  District of Michigan is not onerous. Sidney Powell never sought admission to

  practice before this Court, apparently hoping to evade this Court’s disciplinary

  authority by orchestrating litigation through local counsel.

                                           15
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6149 Filed 07/28/21 Page 16 of 22




                      2. Lin Wood

         Lin Wood argued on July 12, 2021 that he cannot be sanctioned because he

  claimed he had “no involvement whatsoever” in this litigation. (Tr. at 58). But his

  co-counsel, Mr. Rohl, said Wood, with Powell, “spearheaded” this lawsuit. (ECF

  No. 111-1, PageID.4597, at ¶ 2). Wood admitted during the hearing that he offered

  his services as a “trial lawyer” to Powell in connection with this case; that alone

  satisfies the MRPC 8.5(a) criterion of an attorney who “offers to provide” services.

  (Tr. at 58, 60-61). And, despite his denials during the hearing, he has admitted

  elsewhere that he “signed on” to assist with this case. (Ex. 11 – Transcript of Jan.

  11, 2021 Hearing in La Liberte v. Reid, p. 10). Wood has taken credit for his

  participation in this lawsuit when he believes it is to his advantage, and, until

  confronted with sanctions, he had never disavowed his involvement or sought to

  remove his name from any filing.

         Wood admitted at the July 12, 2021 hearing that he had “indicated to Sidney

  Powell that if she needed a…trial lawyer that [he] would certainly be willing and

  available to help her.” (Tr. at 58). When Wood was asked why, if his name was on

  the pleadings without his permission, he did not notify the Court, Wood argued that,

  because he “never moved to be admitted pro hac vice” (again misstating the Local

  Rules) he had no duty to tell the Court that he did not represent the Plaintiffs. (Tr. at

  65).

                                             16
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6150 Filed 07/28/21 Page 17 of 22




         Wood’s co-counsel did not confirm his story. Sidney Powell stated:

        My view, your Honor, is that I did specifically ask Mr. Wood for his
        permission. I can't imagine that I would have put his name on any
        pleading without understanding that he had given me permission to do
        that. (Tr. at 69).

  When directly asked by the Court whether he spoke with Wood before placing his

  name on the pleading, Mr. Kleinhendler curiously responded “[h]onestly, your

  Honor, I don’t recall.” (Tr. at 69).

        Wood’s sudden modesty about his participation in Michigan is an anomaly.

  Throughout the post-election litigation, Wood took a high profile, supporting

  challenges to the election results and even endorsing martial law. Wood’s signature

  block appears on pleadings in cases filed by many of these same lawyers seeking to

  overturn the election results in Georgia, Wisconsin, and Arizona.4 In a brief

  submitted in the Delaware Supreme Court in an appeal of the revocation of his pro

  hac vice admission, Wood claimed, through his counsel:

        [Wood] represented plaintiffs challenging the results of the 2020
        Presidential election in Michigan and Wisconsin…Among those cases
        in which Wood became involved were lawsuits in Wisconsin,
        Michigan, and Wood’s own suit in the State of Georgia”




        4
          Pearson v. Kemp, 1:20-cv-04809, filed in the Northern District of Georgia
  on November 25, 2020; Feehan v. Wisconsin Elections Commission, 2:20-cv-01771,
  filed in the Eastern District of Wisconsin on December 1, 2020; and Bowyer v.
  Ducey, 2:20-cv-02321, filed in the District of Arizona on December 2, 2020.
                                           17
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6151 Filed 07/28/21 Page 18 of 22




  (Ex. 12 – Appellant’s Opening Brief in Page v. Oath, Inc., p. 4 and p. 5).5

        On January 11, 2021, in the Eastern District of New York, Wood was more

  candid about his involvement in the election lawsuits in Wisconsin and Michigan:

        What I have done with Sidney Powell is, she asked me to sign on to two
        or three lawsuits where she was the lead, in anticipation that there may
        be a need for a trial lawyer. I didn’t draft the lawsuits. There were some
        typographical errors and things done in some of them that upset a judge
        in Wisconsin, I believe, maybe Michigan…I didn’t have anything to do
        with that, other than I did agree to sign on to help Sidney. (Ex. 11, p.
        10).
  Like any bully, when Wood thought he was safe and it might help him, he admitted

  his involvement in Michigan, but, now that he is personally at risk, he cowardly

  abandons his comrades and feigns ignorance. 6

        Wood has been aware of the City’s sanctions request since December 15,

  2020. (Ex. 5). At that time, he took personal credit for the litigation, metaphorically

  thumping his chest with a military analogy claiming “you know you are over the


        5
           At the hearing on July 12, 2021, Wood asserted yet another
  incomprehensibly-absurd defense, when he claimed, “I was not afforded any type of
  a hearing on the Delaware proceedings. I didn’t take any position…So I’m not sure
  what he’s referring to there.” (Tr. at p 64; emphasis added). Every word quoted here
  was written by Wood’s attorney, Ronald G. Poliquin, in Appellant’s Opening Brief,
  challenging the revocation of Wood’s pro hac vice admission to represent Carter
  Page in The Superior Court for the State of Delaware.

        6
          Notably, in the New York federal court, Wood was fully aware of the
  pending sanctions motion about which he now claims ignorance. There, on January
  11, 2021, after bragging that he has practiced in 27 states, he complained “Even in
  Michigan, the City of Detroit is trying to get me disbarred. Why? I’m not a member
  of the Michigan Bar.” (Ex. 11, p. 16).
                                            18
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6152 Filed 07/28/21 Page 19 of 22




  target,” when people like the undersigned accuse you of misconduct. But, he was

  only “over the target” if this was his case. As long as he thought he was safe and

  others were doing the dirty work of protecting him, he never attempted to disavow

  his participation in this case. The record is clear. Lin Wood takes credit for this case

  when it serves his purposes, but he runs and hides when faced with the consequences.

  V.    Plaintiffs’ Attorneys Continue To Flout This District’s Civility Principles

        After the sanctions hearing, Plaintiffs’ counsel continued their assault on this

  District’s Civility Principles. As this Court is aware, Lin Wood posted a video

  recording of the July 12, 2021, hearing on Telegram in direct contravention of

  Eastern District of Michigan Local Rule 83.32(e)(2). Despite being afforded a six-

  hour hearing at which to state his defense, Wood claimed in the now-deleted

  Telegram post that he “thought [he] was attending a hearing in Venezuela or

  Communist China. The rule of law and due process does not exist at this time in our

  country except in a very, very few courtrooms. Both were absent in Michigan today.”

  (Ex. 13 – Wood Deleted Telegram post of July 12, 2021). Wood continued to display

  his disrespect for this Court, stating “Federal Judge Linda Parker is an Obama

  appointee. I think that pretty much says it all, don’t you.” (Ex.14 - Wood Telegram

  post of 22:03 on July 12, 2021).

        Wood also posted an unhinged allegation implying that the City of Detroit

  filed the motion for sanctions on January 5, 2021, predicting interference with the


                                            19
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6153 Filed 07/28/21 Page 20 of 22




  peaceful transition of power, because the undersigned was involved in the planning

  of the insurrection:

        David Fink said he filed the motion for sanctions against Sidney and
        me on January 5. Then Fink says I was responsible for causing the
        January 6 “insurrection” the next day!!! Wow! What timing! One might
        almost think it was planned!!! There are no coincidences. This is like
        watching a movie! (Ex. 15 – Wood Telegram post of 23:34 on July 12,
        2021).
  There are no words to describe how detached these lawyers are from the basic rules

  of professional responsibility, civility and ethical legal representation. They must

  not be given the opportunity to further abuse our judicial system and to undermine

  our democracy.

                                   CONCLUSION

        WHEREFORE, for the foregoing reasons, the City of Detroit respectfully asks

  this Court to grant the City’s Motion for Rule 11 Sanctions in its entirety and enter

  an Order imposing the full measure of sanctions requested against all of Plaintiffs’

  counsel.

                                                    Respectfully submitted,

   July 28, 2021                                    FINK BRESSACK

                                                    By: /s/ David H. Fink
                                                    David H. Fink (P28235)
                                                    Nathan J. Fink (P75185)
                                                    Attorneys for City of Detroit
                                                    38500 Woodward Ave., Ste. 350
                                                    Bloomfield Hills, MI 48304

                                           20
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6154 Filed 07/28/21 Page 21 of 22




                                              Tel: (248) 971-2500
                                              dfink@finkbressack.com
                                              nfink@finkbressack.com

                                              CITY OF DETROIT
                                              LAW DEPARTMENT
                                              Lawrence T. Garcia (P54890)
                                              Charles N. Raimi (P29746)
                                              James D. Noseda (P52563)
                                              Attorneys for City of Detroit
                                              2 Woodward Ave., 5th Floor
                                              Detroit, MI 48226
                                              Tel: (313) 237-5037
                                              garcial@detroitmi.gov
                                              raimic@detroitmi.gov
                                              nosej@detroitmi.gov




                                      21
Case 2:20-cv-13134-LVP-RSW ECF No. 164, PageID.6155 Filed 07/28/21 Page 22 of 22




                            CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on July 28, 2021, I electronically filed the

  foregoing document with the Clerk of the Court using the ECF system, which will

  send notification of such filing to all attorneys of record registered for electronic

  filing.

                                                FINK BRESSACK

                                                By: /s/ Nathan J. Fink
                                                Nathan J. Fink (P75185)
                                                38500 Woodward Ave., Ste. 350
                                                Bloomfield Hills, MI 48304
                                                Tel.: (248) 971-2500
                                                nfink@finkbressack.com




                                           22
